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                                         EXHIBIT 4

  Defendant BioEye Ltd.’s Response to Plaintiff’s First Set of Interrogatories, Requests for
                 Production, and Requests for Admission to Defendants
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                                    UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                          SHERMAN DIVISION

                                                            )
     MORINVILLE,                                            )
                                                            )
                     Plaintiff,                             )
                                                            )    Case No. 20-cv-00980-ALM-KPJ
                     v.
                                                            )
                                                            )
     OVERWATCH DIGITAL HEALTH, INC.
                                                            )
     ET.AL,
                                                            )
         Defendants.                                        )
    ________________                                        )

          DEFENDANT BIOEYE LTD.'S RESPONSE TO PLAINTIFF'S FIRST SET OF
         INTERROGATORIES, REQUESTS FOR PRODUCTION, AND REQUESTS FOR
                          ADMISSION TO DEFENDANTS

           Defendant BioEye Ltd., by and through its undersigned counsel, and pursuant to Rules 26,

    33, 34, and 36 of the Federal Rules of Civil Procedure, provides its responses to the Plaintiffs

    First Set of Interrogatories, Requests for Production, and Requests for Admission to Defendants

    (the "Requests") as follows:

                                     PRELIMINARY STATEMENT

           Defendant's investigation and development of all facts and circumstances relating to this

   action is ongoing. These responses and objections are made without prejudice to, and are not a waiver

   of, Defendant's right to rely on other facts at trial.

           By making the accompanying responses and objections the Interrogatories, Requests for

   Production, and Requests for Admission, Defendant does not waive, and hereby expressly reserves,

   its right to assert any and all objections as to the admissibility of such responses into evidence in this

   action, or in any other proceedings, on any and all grounds, including, but not limited to, competency,

   relevancy, materiality, and privilege. Further, Plaintiff makes the responses and objections herein
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    without in any way implying that it considers the responses to be relevant or material to the subject

    of this action.

            Defendant expressly reserves the right to supplement, clarify, revise, or correct any or all of

    the responses and objections herein, and to assert additional objections or privileges, in one or more

    subsequent supplemental response(s).

            For written communications identified by reference to a document produced in Defendant's

    initial disclosures, the date indicated references the most recent communication in a thread.

                  OBJECTIONS AND RESPONSES TO THE INTERROGATORIES

    Interrogatory No. 1: Identify and produce each oral or written contract between or among you and

    any of the Defendants, indicating the date such contract was entered, the material terms of such

    contract, the individual(s) making such contract, any entity on behalf of which the individual(s)

    entered such contract, and whether the contract was written or oral. These contracts include, but are

    not limited to, any oral or written contracts between or among Barrett, Correia, Rision Limited,

    Overwatch and Fokas, and including, but not limited to, Peloton Capital Pty Ltd ACN 149 540 018

   (Peloton Capital).

           OBJECTION: The Defendant objects to this Interrogatory (a) to the extent that it requires

   both the identification and production of the relevant contracts (b) to the extent that it requires the

   identification or production of contracts to which the Defendant is not a party.

           RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:


    Counterparty              (mm/dd/yyyy)    Written or Oral    Material Terms
    Overwatch                08/02/2019       Written            I.D. Docs. 149-151
    Rision Limited           04/27/2019       Written            I.D. Docs. 7-11


   Interrogatory No. 2: Identify and produce each communication between and among you and any

   Defendant and/or between and among any Defendant and the ASX including any person or persons
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    representing the ASX or acting as an intermediary or go-between with the ASX between July 1, 2019,

    and present.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) the identification or

    production of communications to which the Defendant was not a party, (c) the identification or

    production of communications with any person or persons representing the ASX or acting as an

    intermediary or go-between with the ASX after July 1, 2019, unrelated to BioEye or Overwatch,

    because such communications are not relevant to the Plaintiffs asserted action and represent

    confidential communications, and (d) the identification or production of communications with any

    person or persons representing the ASX or acting as an intermediary or go-between with the ASX

    after September 30. 2020, the date on which the Plaintiff asserts he was terminated, because such

    communications are not relevant to the Plaintiffs asserted action.

            RESPONSE: Subject to the foregoing objection, the Defendant Responds as follows:

     Date          Person Initiating       Recipient                     Subject Matter/Description
     01/31/20      Rision Limited          ASX                           Application for In-Principle
                                                                         Advice (l.D. Doc. 60)
    020/2/20       Terry Fokas; Clive      ASX representatives           Meeting in Perth regarding
                   Barrett; Price                                        submission for approval.
                   Sierakowski
                   representatives
    03/25/20       Vanessa Nevjestic       Nicki Farley; Peter           Response by ASX to
                                           Huljich                       Application for In-Principle
                                                                         Advice (I.D. Doc. 61)
                                                                         indicating no approval.
    070/7/20       Conner Graham           Vanessa Nevjestic             Response to 3/25/20 Response
                                                                         by ASX (I.D . Doc. 62)
    07/10/20       Vanessa Nevjestic       Conner Graham                 Email from ASX requesting
                                                                         additional information.
    07/15/20       Conner Graham           Vanessa Nevjestic             Response to ASX email dated
                                                                         7/10/20 (I.D. Doc. 63)


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      07/17/20     ASX advisor                 Conner Graham               Call requesting amendments
                                                                           and concerns re performance
                                                                           share allocation and directors of
                                                                           post-RTO company.
     07/23/20      Rision Limited             ASX                          Revised Application for In-
                                                                           Principle Advice (I.D. Doc. 64)
     07/24/20      Vanessa Nevjestic          Conner Graham                Email informing that amended
                                                                           Application for In-Principle
                                                                           Advice would be set for 8/4/20
                                                                           ASX meeting.
     08/12/20      Vanessa Nevjestic          Conner Graham                Response by ASX to
                                                                           Application for In-Principle
                                                                           Advice (I.D. Doc. 65)
                                                                           indicating no approval.
     8/25/20       Adam Sierakowski           James Rowe                   Oral communication regarding
                                                                           revised In-Principle Application
                                                                           (described in I.D. Doc. 290).




    Interrogatory No. 3: Identify and produce any equity securities or interests of any kind that you held

    in Overwatch/BioEye, Overwatch, BioEye and/or Rision Limited from January 1, 2018, to December

    21, 2021, indicating with respect to each such security or interest the (a) entity, (b) nature, (c) amount,

    (d) date acquired, and (e) date of transfer or other disposition. The Defendant further objects to this

   Interrogatory to the extent that it requests information from after September 30, 2020, the date by

   which the Plaintiff alleges he was terminated. The Defendant will respond to this Interrogatory prior

   to September 20, 2020.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

   the identification and production of the relevant equity securities or interests.

           RESPONSE: Subject to the foregoing objection, the Defendant held no identifiable equity

   security interests in the listed entities and there exists no documents related to such equity ownership.

   Among others, I.D. Docs. 296, 329, and 333-341 relate to security interests in BioEye held by other

   persons. Defendant will also produce with these responses a draft of a document sent to Israel's tax
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    authorities regarding the security interests in BioEye and supplement with the final version when

    obtained by Defendant.


    Interrogatory No. 4. Identify all communications and describe in detail each action of BioEye,

    Barrett, Correia, Overwatch, Fokas and/or Rision Limited arising out of or related to the RTO

    including, without limitation, any action that caused the RTO to not occur or any decision to

    discontinue the applications for in-principle advice submitted to the ASX in 2020.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires

    identifying communications and describing in detail actions of parties other than the Defendant

    because it places an undue burden on the Defendant to conduct discovery available to the Plaintiff

    directly. The Defendant further objects to the Interrogatory because it is ambiguous as to the meaning

    of "arising out of' and "related to" the RTO. If the Interrogatory means identifying all communication

    or action that would not have occurred absent the contemplated RTO the interrogatory would require

    the Defendant to speculate and places an undue burden on the Defendant as arguably all the

    communications between the Defendant and Overwatch and Fokas would not have occurred absent

    contemplation of the RTO. Finally, the Defendant objects to the interrogatory because it is overbroad

   and unduly burdensome in seeking every communication related to the RTO, which was a long

   process of negotiation and due diligence taking place over a year that has nothing to do with the

   causes of action asserted by the Plaintiff, which are for breach of employment contract and rights to

   a patent application and technology rights. To avoid this undue burden, the Defendant will (a)

   describe actions taken by the Defendant to effectuate the RTO and (b) describe actions taken by the

   Defendant that caused the RTO not to occur.

           RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:

           {a) Actions Taken bv the Defendant to Effectuate the RTO


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            Among other things, the Defendant prepared various due diligence materials to provide to the

    ASX so that the RTO would be approved by the ASX, including those reflected in I.D. Docs 299-

    436. Additionally, on April 27, 2020, the Defendant executed an agreement for a share exchange with

    Rision, subject to the conditions precedent set out therein, required for the RTO.

           (b) Actions Taken by the Defendant to Cause the RTO not to Occur

           None. The conditions precedent to the RTO reflected in the term sheet between Risi on Limited

    and BioEye reflected in I.D. Doc. 7 did not occur.



    Interrogatory No. 5. Identify and produce each communication between and/or among you and any

    Defendant and/or between and among any Defendant and the APL including any person representing

    the APL or acting as an intermediary with the APL between July 1, 2019 and present.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications and (b) the identification or

   production of communications to which the Defendant was not a party. The Defendant further objects

   because the Interrogatory is overbroad and unduly burdensome in requesting every communication

   between the Defendant and every other defendant in the Plaintiffs action without limitation to the

   subject matter. The Defendant also objects to the Interrogatory because any communications between

   the Defendant and the APL and the Defendant and any other Defendant regarding the APL is

   completely irrelevant to the Plaintiff's asserted causes of action for (x) damages for the breach of the

   alleged contract between the Plaintiff and "Overwatch/BioEye," (y) sole ownership of the Patent

   Application of the invention that the Plaintiff invented along with co-inventor Dovi Yellin, and (z)

   sole ownership of nebulous rights with respect to unidentified technology.



   Interrogatory No. 6. Identify and produce each communication between and among you and any

   Defendant and/or between and among any Defendant and the Cosenza Hospital including any
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    person(s) representing the Cosenza Hospital or acting as an intermediary with the Cosenza Hospital

    between July 1, 2019 and present.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant comm uni cations and (b) the identification or

    production of communications to which the Defendant was not a party. The Defendant further objects

    because the Interrogatory is overbroad and unduly burdensome in requesting every communication

    between the Defendant and every other defendant in the Plaintiff's action without limitation to the

    subject matter. The Defendant also objects to the Interrogatory because any communications between

    the Defendant and the Cosenza Hospital and the Defendant and any other Defendant regarding the

    Cosenza Hospital is not relevant to the Plaintiff's asserted causes of action for (x) damages for the

    breach of the alleged contract between the Plaintiff and "Overewatch/BioEye," (y) sole ownership of

    the Patent Application of the invention that the Plaintiff invented along with co-inventor Dovi Yellen,

    and (z) sole ownership of nebulous rights with respect to unidentified technology


    Interrogatory No. 7. Identify and produce each document related to your ownership of BioEye,

   Overwatch, Overwatch/BioEye and Rision Limited commencing on or near January 1, 2019 through

   the present time.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

   the identification and production of the relevant equity securities or interests. The Defendant further

   objects to the Interrogatory because it is ambiguous regarding what "related to [Defendant's]

   ownership" means in the context of the Interrogatory. Interrogatory No. 3 requests that the Defendant

   "[i]dentify and produce any equity securities or interests of Overwatch, BioEye and/or Risi on Limited

   from January I, 2018, to December 21, 2021 .. . ." To resolve the ambiguity, the Defendant will

   extend the timeframe for the response in Interrogatory No. 3. The Defendant further objects to this


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    Interrogatory to the extent that it requests information from after September 30, 2020, the date by

    which the Plaintiff alleges he was terminated. The Defendant will respond to this Interrogatory prior

    to September 20, 2020.

           RESPONSE: Subject to the foregoing objection and clarification, the Defendant responds to

    this Interrogatory in the Defendant's response to Interrogatory No. 3.


    Interrogatory No. 8. Identify and produce each document related to your projected post RTO

    ownership in the combined entities on or near the projected RTO in April 2020.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents.

           RESPONSE: Subject to the foregoing objection, the Defendant is not aware of any

    identifiable documents. Defendant will also produce with these responses a draft of a document sent

   to Israel's tax authorities regarding the security interests of BioEye shareholders post-RTO and

   supplement with the final version when obtained by Defendant.


   Interrogatory No. 9. Identify and produce each document related to your ownership of BioEye,

   Overwatch, Overwatch/BioEye and Rision Limited on or near September l, 2020.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

   the identification and production of the relevant equity securities or interests. The Defendant further

   objects to the Interrogatory because it is ambiguous regarding what "related to [Defendant's]

   ownership" means in the context of the Interrogatory. Interrogatory No. 3 requests that the Defendant

   "[i]dentify and produce any equity securities or interests of Overwatch, BioEye and/or Risi on Limited

   from January 1, 2018, to December 21, 2021 .... " and the Defendant asserts that the relevant time

   period is prior to September 30, 2020.



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            RESPONSE: Subject to the foregoing objection, the Defendant responds to this Interrogatory

     in the Defendant's response to Interrogatory No. 3.


    Interrogatory No. 10. Identify and produce each communication related to investment proposals

    related to BioEye, Overwatch of the merged Overwatch/Bioeye entity between and/or among you

    and any Defendant, and/or between and among any Defendant and any investor or potential investor

    between January l, 2019 and present.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) identification or production

    of communications to which the Defendant was not a party because identification and production of

    such communications places an undue burden on the Defendant and can be produced by other

    defendants to the Plaintiffs action, (c) inclusion of periods after September 30, the date by which the

    Plaintiff alleges he was terminated because such communications are irrelevant to the Plaintiffs

    asserted causes of action.

            RESPONSE: Subject to the foregoing objection, the Defendant responds that there was no

    investment in BioEye in 2019 or 2020. BioEye was funded through the Overwatch-BioEye

    promissory note (I.D. Docs. 149-151 ). As the result of investigation though this action, however, the

    Defendant is aware of the following (including the communications referenced in such documents):

     Date         Person Initiating         Recipient                  Subject Matter
     01/31/19     Clive Barrett             Eran Ferri                 I.D. Doc. 185
     02/04/19     Clive Barrett             Eran Ferri; Dovi Yellin    I.D. Doc. 186
     02/05/19     Clive Barrett             Eran Ferri; Dovi Yellin    I.D. Doc. 187
     05/20/19     Clive Barrett             Eran Ferri; Dovi Yellin    I.D. Doc. 188
     07/09/19     Clive Barrett            Terry Fokas                 I.D. Doc. 189
     07/12/19     Clive Barrett            Eran Ferri; Dovi Yellin     I.D. Doc. 190
     07/12/19     TerryFokas               Eran Ferri; Dovi Yellin     I.D. Doc. 195

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      07/17/19    Terry Fokas         Eran Ferri; Dovi Yellin    I.D. Doc. 196
      07/17/19    Clive Barrett       Eran Ferri; Dovi Yellin    I.D. Doc. 191
      07/19/19    Terry Fokas         Eran Ferri; Dovi Yellin    I.D. Docs. 192-193
      07/25/19    Clive Barrett       Eran Ferri; Dovi Yellin    l.D. Doc. 194
      07/30/19    Clive Barrett       Eran Ferri                 I.D. Doc. 197
     08/25/19     Emmanuel Corriea    Terry Fokas                I.D. Doc. 198
     08/26/19     Terry Fokas         John Gilfillan; Clive      I.D. Doc. 199
                                      Barrett; Emmanuel
                                      Corriea
     08/26/19    Terry Fokas         Eran Ferri                 I.D. Docs. 27-28
     08/26/19    Terry Fokas         John Gilfillan; Clive      I.D. Doc. 200
                                     Barrett; Emmanuel
                                     Corriea
     08/31/19    Eran Ferri          Clive Barrett              I.D. Doc. 34
     10/03/19    Terry Fokas         Overwatch Noteholders      I.D. Doc. 201-202
     11/12/19    TerryFokas          Emmanuel Correia;          I.D. Doc. 206
                                     Clive Barrett
     11/12/19    Terry Fokas         Emmanuel Correia;          I.D. Docs. 207-08
                                     Clive Barrett
     11/12/19    TerryFokas          Emmanuel Correia;          l.D. Doc. 209
                                     Clive Barrett
     11/25/19    Terry Fokas         Emmanuel Correia;          I.D. Docs. 210-11
                                     Clive Barrett; Adam
                                     Sierakowski
     01/13/20    Emmanuel Correia    Terry Fokas                I.D. Doc. 212
     02/12/20    Terry Fokas         Adam Sierakowski;          l.D. Doc. 213
                                     Sean McCormick;
                                     Emmanuel Correia;
                                     Clive Barrett
     02/29/20    Terry Fokas         Adam Sierakowski;          I.D. Doc. 217-218
                                     Sean McCormick; Peter
                                     Huljich
     03/15/20    Terry Fokas         Adam Sierokowski;          I.D. Doc. 220
                                     Clive Barrett;
                                     Emmanuel Correia;
                                     John Gilfillan; Sean
                                     McCormick
    03/19/20     Clive Barrett       Emmanuel Correia           I.D. Doc. 223-26

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      03/26/20    Terry Fokas        Emmanuel Correia         I.D. Doc. 228-29
      03/27/20    Clive Barrett      Teriy Fokas; Emmanuel    I.D. Doc. 221
                                     Correia
      03/27/20   Clive Barrett       Teriy Fokas; Emmanuel    I.D. Doc. 227
                                     Correia
      04/12/20   Terry Fokas         Clive Barrett;          I.D. Docs. 230-231
                                     Emmanuel Correia
     04/16/20    TeriyFokas         Clive Barrett;           I.D. Doc. 232
                                    Emmanuel Correia
     04/26/20    Teriy Fokas        Adam Sierakowski;        I.D. Docs. 233-35
                                    Emmanuel Correia;
                                    Sean McCormick;
                                    Connor Graham; Clive
                                    Barrett
     04/27/20    Teriy Fokas        Adam Sierakowski;        I.D. Docs. 236
                                    Emmanuel Correia;
                                    Clive Barrett
     04/28/20    Rision Limited     Press Release            I.D. Doc. 1
     05/03/20    Terry Fokas        Emmanuel Correia;        I.D. Doc. 237-38
                                    Clive Barrett
     05/17/20    Terry Fokas        Emmanuel Correia;        I.D. Docs. 239-41
                                    Clive Barrett
     06/09/20    Sean McCormick     Adam Sierakowski;        I.D. Docs. 247-53
                                    Terry Fokas; Emmanuel
                                    Correia; Harvey Bines
     07/14/20    TerryFokas         Clive Barrett;           I.D. Doc. 267
                                    Emmanuel Correia
     07/14/20    Terry Fokas        Emmanuel Correia;        I.D. Docs. 268-271
                                    Clive Barrett
     07/15/20    Terry Fokas        Emmanuel Correia;        I.D. Doc. 273
                                    Clive Barrett
     07/24/20    Teriy Fokas        Emmanuel Correia;        I.D. Doc. 282
                                    Clive Barrett
     08/10/20    Clive Barrett      Emmanuel Correia;        I.D. Doc. 283
                                    Terry Fokas
     08/24/20    Terry Fokas        Emmanuel Correia;        I.D. Doc. 288
                                    Clive Barrett
     08/24/20    Emmanuel Correia   Teriy Fokas; Clive       I.D. Doc. 289
                                    Barrett

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      08/25/20     Terry Fokas                Emmanuel Correia;           I.D. Doc. 290
                                              Clive Barrett
      08/26/20     Terry Fokas                Eran Ferri                  I.D. Doc. 27
      08/27/20     Clive Barrett              Emanuel Correia; Terry      I.D. Doc. 26
                                              Fokas.
      08/31/20     Eran Ferri                 Clive BarrettP              I.D. Doc. 34
      09/01/20     Terry Fokas               Adam Sierakowski;            I.D. Doc. 291
                                             Steve Rosich;
                                             Emmanuel Correia
      09/02/20     Terry Fokas               Clive Barrett; Harvey       I.D. Doc. 293
                                             Bines; Emmanuel
                                             Correia
      10/12/20     Terry Fokas               Clive Barrett;              I.D. Doc. 294
                                             Emmanuel Correia
      10/27/20     Wayne Abramsohn           Emmanuel Correia;           I.D. Doc. 295
                                             Clive Barrett; Moss
                                             Kady


    Interrogatory No. 11. Identify and produce each document related to investor proposals, offers,

    demands, and contracts for new investment, restructuring, recapitalizing, or other investment

    instruments in BioEye, Overwatch, Overwatch/BioEye or Rision Limited between January 1, 2019

    and present.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant documents and (b) inclusion of periods after 30,

    the date by which the Plaintiff alleges he was terminated because such communications are irrelevant

    to the Plaintiff's asserted causes of action. The Defendant further objects because the Interrogatory is

    ambiguous in light of what appears to be two separate lists combined together and what "related to"

    means in the context of the listed documents. To resolve the ambiguity, the Defendant will identify

    or produce documents comprising (a) proposals, offers, or demands made by investors in BioEye,

    Overwatch, "Overwatch/BioEye", or Rision Limited between January 1, 2019, and September 30,

    2020, and (b) contracts for new investment, restructuring, recapitalizing, or other investment
                                                      12
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     instruments in BioEye, Overwatch, "Overwatch/BioEye", or Rision Limited between January 1,

     2019, and September 30, 2020.

            RESPONSE: Subject to the foregoing objection, the Defendant responds that there was no

    investment in BioEye in 2019 or 2020. BioEye was funded through the Overwatch-BioEye

    promissory note (I.D. Docs. 149-151 ). As the result of investigation though this action, however, the

    Defendant is aware of the following in addition to Defendant's response to Interrogatory No. 11:

     Type             Subject Matter      Date        Author                       Addressee/Recipient
     Agreement        I.D. Docs. 7-11     04127120    B ioEye/Rision               NIA
     Agreement        I.D. Doc. 12        04/27120    Overwatch/Rision             NIA
     Draft            I.D. Doc. 67        09102120    RisionLimited (Sean          BioEye (Eran Ferri)
     Amendment                                        McCormick)
     Draft            I.D. Doc. 68        09102/20    Rision Limited (Sean         Overwatch (Terry
     Amendment                                        McCormick)                   Fokas)
     Draft            I.D. Doc. 28        07/30/20    BioEye/Overwatch             NIA
     Agreement
     Board            LD. Docs. 30-33,    Various     Eran Ferri                   NIA
     Minutes          37
     Letter           I.D. Doc. 40        02106/19    E. Correia                   Terry Fokas
     Agreement
     ASX              I.D. Docs. 60-65    Various     ASX/Rision Limited           ASX/Rision
     Documents                                                                     Limited
     RTO              I.D. Docs. 247-    06109/20     Sean McCormick               Adam Sierakowski,
     Capitalization   253                                                          Terry Fokas,
     Tables                                                                        Emmanuel Correia,
                                                                                   Harvey Bines.
     Performance      I.D. Doc. 255      06/18/20     Terry Fokas                  Emmanuel Correia;
     Shares                                                                        Clive Barrett
     Breakdown
     Due Diligence    I.D. Docs. 180-    Various      Connor Graham                Overwatch, BioEye,
     Committee        184                                                          Rfaion
     Min.
    BE Note &         I.D. Docs. 149-    Various     BioEye/Overwatch              NIA
    Amendments        151
    Transfer of       I.D. Doc. 179      01122/21    Colepin A TB Barrett and      Overwatch
    Note                                             Sons Trading Co. Super

                                                     13
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                                                           Fund/BioEye
      OW Notes         I.D. Docs. 86-       Various        Overwatch/Noteholders     NIA
                       129; 132
      Overwatch     I.D. Docs. 70-          Various     Various (Submitted by        Rision Limited
      Due Diligence 176                                 Overwatch)
      BioEye Due       I.D. Docs. 299-      Various     Various (Submitted by        Rision Limited
      Diligence        436                              BioEye)




     Interrogatory No. 12. Identify and produce each communication between and/or among any

    Defendants and/or any investors related to any investors interested in investing into Overwatch,

    BioEye or the merged Overwatch/BioEye entity between January I, 2019 to present.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) identification or production

    of communications to which the Defendant was not a party because identification and production of

    such communications places an undue burden on the Defendant and can be produced by other

    defendants to the Plaintiffs action, (c) inclusion of periods after September 30, 2020, the date on

    which the Plaintiff alleges he was terminated because such communications are irrelevant to the

    Plaintiffs asserted causes of action.

            RESPONSE: Subject to the foregoing objection, the Defendant has identified all such

    communications in Defendant 's responses to Interrogatory Nos. 10 and 11.


    Interrogatory No. 13. Identify and produce each communication related to any requests to convert

    debt held by any of the Defendants in BioEye or Overwatch to equity as a condition to BioEye or

    Overwatch obtaining additional debt or equity investments.

           OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) identification or production


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     of communications to which the Defendant was not a party because identification and production of

     such communications places an undue burden on the Defendant and can be produced by other

     defendants to the Plaintiff's action, (c) inclusion of periods after September 30, 2020, the date by

     which the Plaintiff alleges he was terminated because such communications are irrelevant to the

     Plaintiff's asserted causes of action.

             RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:

      Date          Person Initiating         Recipient                Subject Matter
      09/02/20      Terry Fokas               Clive Barrett; Harvey    I.D. Doc. 293
                                              Bines; Emmanuel
                                              Correia
      10/12/20      Terry Fokas               Clive Barrett;           I.D. Doc. 294
                                              Emmanuel Corriea
      10/27/20      Terry Fokas               Emmanuel Corriea;        I.D. Doc. 295
                                              Clive Barrett; Moss
                                              Kadey



    Interrogatory No. 14. Identify and produce each communication and contracts describing the value

    of the llision Limited shares at the RTO, indicating the source of any information you used and any

    documents upon which you relied.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) identification or production

    of communications to which the Defendant was not a party because identification and production of

    such communications places an undue burden on the Defendant and can be produced by other

    defendants to the Plaintiff's action, (c) inclusion of periods after September 30, 2020, the date by

    which the Plaintiff alleges he was terminated because such communications are irrelevant to the

    Plaintiff's asserted causes of action. The Defendant further objects to the Interrogatory because it is

    ambiguous with respect to what it means by "indicating the source of any information you used and


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     any documents upon which you relied" in the context of identifying or producing communications or

     contracts to which the Defendant was not the author of the communication or party to the contract.

              RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:

              (a) Communications

      Date          Person Initiating        Recipient                 Subject Matter
      04/28/20      Rision Limited           Press Release             l.D. Doc. 1
      06/09/20      Sean McCormick           Adam Sierakowski;         I.D. Docs. 247-253
                                             Terry Fokas;
                                             Emmanuel Correia;
                                             Harvey Bines
      06/18/20      Terry Fokas              Emanuel Correia;          I.D. Docs. 254-255
                                             Clive Barrett
      1/31/20       Price Sierakowski        ASX                       I.D. Doc. 60
     07/07/20       Price Sierakowski        ASX                       I.D. Doc. 62
     07/23/20       Price Sierakowski        ASX                       I.D. Doc. 64

             (b) Contracts

     Date               Counterparty                      Subject Matter
     Agreement          I.D. Docs. 7-11                   04/27/20
     Agreement          l.D. Doc. 12                      04/27/20


    Interrogatory No. 15. Identify and produce each communication and contracts describing how the

    value of the BioEye shares at the RTO, indicating the source of any information you used and any

    documents upon which you relied.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant communications, (b) identification or production

    of communications to which the Defendant was not a party because identification and production of

   such communications places an undue burden on the Defendant and can be produced by other

   defendants to the Plaintiff's action, (c) inclusion of periods after September 30, 2020, the date by


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     which the Plaintiff alleges he was terminated because such communications are irrelevant to the

     Plaintiffs asserted causes of action. The Defendant further objects to the Interrogatory because it is

     ambiguous with respect to (a) what it means by "indicating the source of any information you used

     and any documents upon which you relied" in the context of identifying or producing

     communications or contracts to which the Defendant was not the author of the communication or

     party to the contract and (b) unless the inclusion of the word "how" is a mistake, the Interrogatory

    does not convey a complete thought. The Defendant will resolve the ambiguity by identifying or

    producing communications and contracts describing the value of the BioEye Shares at the RTO.

            RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:

            (a) Communications

     Date         Person Initiating         Recipient                             Subject Matter
     07/12/19- Various                      Various                               I.D. Docs. 190-197
     07/30/19
     06/09/20     Sean McCom1ick            Adam Sierokowski, Terry Fokas,        I.D. Docs. 247-53
                                            Emmanuel Correia; Harvey Bines
     01/14/20     Eran Ferri                Terry Fokas                           RFP 1-2 (Basis
                                                                                  BioEye-Overwatch
                                                                                  note and verbal
                                                                                  discussion/call)

            (b) Contracts

     Date        Parties                                                 Subject Matter
     08/02/19    BioEye; Overwatch                                       I.D. Docs. 149-51
     04/27/20    Rision Limited; BioEye                                  I.D. Docs. 7-11
     04/27/20    Rision Limited; Overwatch                               I.D. Doc. 12



            Interrogatory No. 16. Identify and produce each communication and contracts describing

    how the value of the Overwatch shares at the R TO, indicating the source of any information you used

    and any documents upon which you relied.

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             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

     both the identification and production of the relevant communications, (b) identification or production

     of communications to which the Defendant was not a party because identification and production of

     such communications places an undue burden on the Defendant and can be produced by other

     defendants to the Plaintiffs action, (c) inclusion of periods .after September 30, 2020, the date by

    which the Plaintiff alleges he was terminated because such communications are irrelevant to the

    Plaintiffs asserted causes of action. The Defendant further objects to the Interrogatory because it is

    ambiguous with respect to (a) what it means by "indicating the source of any information you used

    and any documents upon which you relied" in the context of identifying or producing

    communications or contracts to which the Defendant was not the author of the communication or

    party to the contract and (b) unless the inclusion of the word "how" is a mistake, the Interrogatory

    does not convey a complete thought. The Defendant will resolve the ambiguity by identifying or

    producing the requested communications and contracts.

            RESPONSE: Subject to the foregoing objection, the Defendant responds as follows:

            (a) Communications

     Date         Person Initiating         Recipient                              Subject Matter
     06/09/20     Sean McCormick            Adam Sierokowski, Terry Fokas,         I.D. Docs. 247-53
                                            Emmanuel Correia; Harvey Bines
     01/14/20     Eran Ferri                Terry Fokas                           RFP 1-2 (Basis
                                                                                  BioEye-Overwatch
                                                                                  note and verbal
                                                                                  discussion/call)

            (b) Contracts

     Date        Parties                                                  Subject Matter
     04/27/20    Rision Limited; Overwatch                                I.D. Doc. 12




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     Interrogatory No. 17. Identify and produce each communication between or among you and any of

     the Defendants between January 1, 2019, and present, indicating the date of such communication, the

     individual(s) making such communication, and whether the communication was written or oral.

            OBJECTION: The Defendant objects to this Interrogatory (a) to the extent that it requires

     both the identification and production of the relevant communication, (b) because to Interrogatory is

     overbroad and unduly burdensome in requesting every communication between the Defendant and

    every other defendant in the Plaintiffs action without limitation to the subject matter, (c) to the extent

    that it requires identification or production of communications to which the Defendant was not a party

    because identification and production of such communications places an undue burden on the

    Defendant and can be produced by other defendants to the Plaintiffs action, and (d) because it

    includes the time period after September 30, 2020, the date by which the Plaintiff alleges he was

    terminated, which is irrelevant to the causes of action asserted by the Plaintiff.


    Interrogatory No. 18. Identify and produce all documents valuing BioEye, Overwatch, and

    Overwatch/Bioeye on or around July 2019.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it is ambiguous regarding what "valuing" means in this context compared to

    "describing the value" of the shares of the entities as requested in Interrogatory Nos. 14 through 16.

    To resolve this ambiguity, the Defendant will identify or produce all documents purporting to be a

    professional valuation ofBioEye, Overwatch, or Overwatch/Bioeye on or around July 2019.

           RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

    is not aware of any identifiable documents.




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     Interrogatory No. 19. Identify and produce all documents valuing BioEye, Overwatch, and

     Overwatch/Bioeye at any time after July 2019.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it includes the time period after September 30, 2020, the date by which the

    Plaintiff alleges he was terminated, which is irrelevant to the causes of action asserted by the Plaintiff.

    The Defendant also objects to the Interrogatory because it is ambiguous regarding what "valuing"

    means in this context. To resolve this ambiguity, the Defendant will identify or produce all documents

    purporting to be a professional valuation of BioEye, Overwatch, or Overwatch/Bioeye after July 2019

    and before September 30, 2020.

            RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

    is not aware of any such documents responsive to this Interrogatory.


    Interrogatory No. 20. Identify and produce all documents valuing Eympair at any time after July

    2019.

            OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it includes the time period after September 30, 2020, the date on which the

    Plaintiff alleges he was terminated, which is irrelevant to the causes of action asserted by the Plaintiff.

    The Defendant also objects to the Interrogatory because it is ambiguous regarding what "valuing"

    means in this context. To resolve this ambiguity, the Defendant will identify or produce all documents

    purporting to be a professional valuation of Eympair after July 2019 but before September 30, 2020.

            RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

    the Defendant is not aware of any identifiable documents. The Plaintiff produced a document


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     purporting to provide financials for impairment detection that the Defendant will produce with these

     Responses.


     Interrogatory No. 21. Identify and produce all documents valuing Eympact at any time after July

     2019.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it includes the time period after September 30, 2020, the date on which the

    Plaintiff alleges he was terminated, which is irrelevant to the causes of action asserted by the Plaintiff.

    The Defendant also objects to the Interrogatory because it is ambiguous regarding what "valuing"

    means in this context. To resolve this ambiguity, the Defendant will identify or produce all documents

    purporting to be a professional valuation of Eympact after July 2019 but before September 30, 2020.

             RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

    is not aware of any such documents.


    Interrogatory No. 22. Identify and produce all documents valuing Overwatch IDT at any time after

    July 2019.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it includes the time period after September 30, 2020, the date on which the

    Plaintiff alleges he was terminated, which is irrelevant to the causes of action asserted by the Plaintiff.

    The Defendant also objects to the Interrogatory because it is ambiguous regarding what "valuing"

    means in this context compared to "describing the value" of the entities shares in Interrogatory Nos.

    14 through 16. To resolve this ambiguity, the Defendant will identify or produce all documents



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     purporting to be a professional valuation of Overwatch IDT after July 2019 but before September 30,

     2020.

             RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

     is not aware of any such documents.


     Interrogatory No. 23. Identify and produce all documents valuing Overwatch App at or before July

     2019.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires both

    the identification and production of the relevant documents. The Defendant further objects to the

    Interrogatory because it is ambiguous regarding what "valuing" means in this context compared to

    "describing the value" of the entities shares in Interrogatory Nos. 14 through 16. To resolve this

    ambiguity, the Defendant will identify or produce all documents purporting to be a professional

    valuation of the Overwatch App at or before July 2019.

             RESPONSE: Subject to the foregoing objection and resolution of ambiguity, the Defendant

    is not aware of any such documents.


    Interrogatory No. 24. Identify and produce each document including communications, training

    materials, technical support documentation, requirements documents, marketing materials, and other

    product documentation that show any BioEye product capabilities, features, testing protocols,

    machine learning, and/or artificial intelligence capabilities present on or before July 1st, 20i9.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires (a)

    both the identification and production of the relevant document, (b) identification or production of

    documents not in the Defendants possession, custody, or control, and (c) identification or production

    of any documents comprising computer code, datasets, algorithms, or similar information.



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              RESPONSE: Subject to the foregoing objection, the Defendant responds to this Interrogatory

     as follows:

      Type             Subject Matter       Date            Author              Addressee/Recipient
      Summary          P. Exs. 926a-926e     July 2019      BioEye              Overwatch
      Summary          P. Exs. 407a         Aug. 2018       BioEye              General Marketing
      Summary          RFP 3-4              01/18/19        BioEye              Terry
                                                                                F okas/Overwatch


    Interrogatory No~ 25. If you deny or make a qualified response to any of the Requests for

    Admissions herein, identify and describe in detail your legal and factual basis, including any

    documents, supporting such denial.

             OBJECTION: The Defendant objects to this Interrogatory to the extent that it requires

    answers to the Plaintiffs Requests for Admission beyond what is required by Federal Rule of Civil

    Procedure 36 because such modification of Rule 36 is unduly burdensome.

             OBJECTIONS AND RESPONSES TO THE REQUESTS FOR PRODUCTION

    Request No. 1: Any document, communication, or contract identified in your response to the

    Interrogatories.

             OBJECTION: The Defendant objects to this Request to the extent that it requires the

    identification of the relevant documents, communications, or contracts beyond production of the

    relevant documents, communications, or contracts where the information could be determined by

    examining, auditing, compiling, abstracting, or summarizing from such documents.

             RESPONSE: Subject to the foregoing objection, the Defendant will produce such documents

    consistent with any objections to the relevant Interrogatories.




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              OBJECTIONS AND RESPONSES TO THE REQUESTS FOR ADMISSION



     Request No. 1: Admit that you refused to convert debt to equity in either BioEye or Overwatch at

     the request of new investors.

            RESPONSE: Denied. The Defendant did not have any debt against Overwatch that any party

     requested be converted to equity.


    Request No. 2: Admit that the planned April 2020 RTO on the ASX was postponed due to COVID.

            RESPONSE: The Defendant admits that the economic conditions resulting from COVID-19

    were a contributing factor to the postponement of the RTO, but denies that this was the only factor.

    Among other issues, the ASX indicated on 3/25/2020 that there was a "significant likelihood" that

    Rision Limited would fail to meet the conditions for re listing on the ASX after the R TO for, among

    other reasons, (1) the early stage of Overwatch Digital Health Inc's proposed business operations, (2)

    the 250 million performance shares proposed to be issued to Mr Terry Fokas, (3) the proposed terms

    of those performance shares, (4) the fact that Price Sierakowski, a firm associated with RNL's current

    non-executive chairman Mr Adam Sierakowski, will be RNL's legal adviser for the Transaction. (See

    I.D. Doc. 61).


    Request No. 3: Admit that the planned April 2020 RTO on the ASX was postponed to August 2020.

           RESPONSE: The Defendant admits that the RTO was postponed and that the parties thereto

    contemplated conducting the RTO in August 2020 but denies that the RTO was certain to commence

    in August 2020. The ASX denied the RTO for the first time in March 2020 (I.D. Doc. 61). In July

    2020, a further application was made to the ASX seeking approval to proceed with the proposed RTO

    and obtain a public listing (I.D. Doc 64) but this submission was again unsuccessful due to the ASX

    assessment of the early-stage nature of Overwatch and BioEye and the insufficient commercial and

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     clinical progress made (I.D. Doc. 65). Commencement of the RTO was contingent on the conditions

     precedent indicated in the documents previously produced as Defendant's I.D. Docs. 7 and 12. Under

     the term sheets, the conditions precedent had to be met or waived within 90 days from April 28, 2020.


     Request No. 4: Admit that Overwatch and BioEye had effectively merged for all practical purposes

     and was doing business as Overwatch/BioEye from at least January 1, 2020.

            RESPONSE: Denied. As reflected in I.D. Docs. 2 and 3, Overwatch and BioEye maintained

    their separate legal identities. As reflected in I.D. Docs. 33 and 37, the BioEye board of directors

    continued to manage BioEye. As reflected in I.D. Docs. 14 and 297, the Overwatch maintained

    separate accountings and retained separate professionals. As indicated in I.D. Doc. 180, Terry Fokas

    indicated in connection with the due diligence committee meetings that "BioEye is a separate entity

    to Overwatch and there is no cross ownership" and that Eran Ferri was the CEO of BioEye. As

    indicated in I.D. Docs. 64 and 65, the parties represented to regulators that Overwatch and BioEye

    were developing and commercializing separate products and the ASX evaluated the status of

    Overwatch and BioEye's businesses separately. As reflected in I.D. Docs. 7 and 12 the anticipated

    transaction, as amended, was for Overwatch and BioEye to both be acquired by Rision Limited. And

    as reflected in I.D. Docs. 149-151 and 209, the relationship between BioEye and Overwatch was

    governed by a promissory note made by BioEye and delivered to Overwatch, under which Overwatch

    could convert $200,000 of the amount due by BioEye into shares of BioEye at a $1.85 million

    valuation.


    Request No. 5: Admit that investment proposals and other investment documents or communications

    to investors in Overwatch were created under the merged entity Overwatch/BioEye.

           RESPONSE: Denied. Although Overwatch attempted to illustrate the merits of the company

    based on completion of the RTO,_ potential investors and other interested parties were made aware
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     that the RTO was not complete and still conditional on a number of material and customary conditions

     precedent (see I.D. Doc. 7-11). Overwatch investor presentation material also indicated that such

     statements were future- looking statements.

            Any investment received by Overwatch prior to the completion of the RTO was in exchange

     for notes convertible to shares in Overwatch that would be exchanged for shares in Rision Limited

    upon the completion of the RTO.



    Request No. 6: Admit that in communications to investors, Overwatch claimed that the merger of

    Overwatch and BioEye had been consummated.

            RESPONSE: Denied. In Overwatch's letter dated October 2, 2019 (I.D. Doc. 202),

    Overwatch incorrectly told noteholders that

                       in September 2019 we reached agreement with BioEye's board of
                       directors to acquire that company in exchange for $1.65 million in
                       Overwatch common shares which shall be issued to BioEye upon the
                       consummation of Overwatch's reverse takeover transaction on the
                       Australian Stock Exchange ("ASX").

    In Overwatch's letter dated March 27, 2020 (I.D. Doc. 42), Overwatch told holders of the convertible

    and promissory notes that "as noted in my previous correspondence, Overwatch entered into an

    agreement in September 2019 to acquire Israel-based B ioEye[. ]" Although originally planned by

    Overwatch and BioEye, it was never consummated and later abandoned in favor of both Overwatch

    and BioEye merging with Rision, which never occurred. The Defendant is not aware of any

    communications from Overwatch that claimed that any merger had been consummated. To the extent

    that the Defendant becomes aware of such a communication, the Defendant will amend the response

    to this Request.


    Request No. 7: Admit that Barrett and/or Correia reviewed prior to transmission communications

    (including, without limitation, investor updates) to investors in BioEye and/or Overwatch.

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             OBJECTION: The Defendant objects to Request No. 7 because it is ambiguous by its

     multiple uses of "and/or" that make it unclear what an admission would entail and unclear meaning

     of "review" in this context. To resolve this ambiguity, the Defendant will interpret the Request asking

     if (a) both Barrett and Correia received drafts ofcommunications to (b) investors of both BioEye and

     Overwatch and (c) had authority to direct that the drafts of communications be altered.

            RESPONSE: Denied. Based on information available to the Defendant as the result of it's

     investigation in this lawsuit, and disclosed to Plaintiff in Defendant's initial disclosures, although

    Correia and Barrett received drafts of certain communications to Overwatch noteholders prior to

    transmittal for discussion, neither Correia nor Barrett had authority to require changes to such

    communication. With respect to BioEye only, Barrett was the main contact for BioEye investor

    communications.


    Request No. 8: Admit that Cosenza Hospital was contracted with the merged entity

    Overwatch/BioEye to perform testing ofOverwatch IDT.

            RESPONSE: Denied. No merged entity existed.


    Request No. 9: Admit that documents were created under the merged entity Overwatch/BioEye for

    the AFL.

           RESPONSE: Denied. No merged entity existed. Documents may have referenced both

    Overwatch and BioEye as the parties sought to enact the RTO.


    Request No. 10: Admit that Barrett and/or Correia performed day-to-day management duties of the

    Overwatch/BioEye entity consistent with executive management.

           RESPONSE: Denied. No merged entity existed. Any input of Barrett with respect

    management of Overwatch was consistent with his role as a representative of lenders to Overwatch,

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     representative of shareholder in BioEye, and/or member ofBioEye's board of directors. Any input of

     Correia with respect to management or Overwatch was consistent with his role as representative of

     lenders to Overwatch and the role of project managing and structing the proposed RTO. BioEye's

     officers considered Barrett a representatives of the investors in BioEye.


     Request No. 11: Admit that Barrett and/or Correia made hiring and termination decisions of

     employees in the US and Israel.

            RESPONSE: Denied. Based on information available to the Defendant and disclosed to

    Plaintiff in Defendant' s initial disclosures, ( 1) any input of Barrett or Correia with respect to hiring

    or termination with respect to Overwatch was ancillary to the overall financial condition of Overwatch

    and consistent with their roles as representatives of lenders to Overwatch; (2) any input of Barrett

    with respect to hiring or termination with respect to BioEye was consistent with Barrett's role as a

    representative of an equity investor in BioEye and member of BioEye's board of directors, and (3)

    Correia made no decisions with respect to hiring or termination of employees ofBioEye.


    Request No. 12: Admit that Barrett and/or Correia made product development design choices in the

    US and Israel.

            RESPONSE: Denied. Based on information available to the Defendant and disclosed to

    Plaintiff in Defendant' s initial disclosures and documents produced by the Plaintiff, the Defendant

    has not seen any evidence of Barrett or Correia making any "product development design choices."


    Request No. 13: Admit that Barrett and/or Correia (either as individuals or through their nominees)

    are significant shareholders in BioEye.




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              OBJECTION: The Defendant objects to Request No. 13 because it is ambiguous as to what

     constitutes a "significant" shareholder. The Defendant will respond without regards to whether

     Barrett and Correia are "significant" shareholders.

              RESPONSE: The Defendant admits that (a) Correia is a shareholder of BioEye, (b) Colepin

     ATF Barrett and Sons Trading Co Super Fund is a shareholder of BioEye, and (c) Barrett has an

     interest in Colepin A TF Barrett and Sons Trading Co Super Fund. The relative interests during the

    relevant times to the Plaintiff's complaint are reflected in I.D. Docs. 329 and 251.



    Request No. 14: Admit that completion of the RTO would significantly dilute share ownership of Barrett

    and Correia (either as individuals or through their nominees) from their previous share ownership in

    BioEye.

            OBJECTION: The Defendant objects to Request No. 14 because it is ambiguous as to what

    constitutes "significant" dilution of shares in connection with a merger of three entities.

            RESPONSE: Denied. Correia owned 1.09% of the equity in BioEye as of 02/11/2020 (I.D.

    Doc. 329) and would have owned approximately 3.19%-3.68% of the post-RTO entity (I.D. Doc.

    250). Barrett owned directly none of the equity in BioEye as of02/1 l/2020 (l.D. Doc. 329) and would

    have owned approximately 9.91 % and 11.41 % of the equity in the post-RTO entity (I.D. Doc. 250).

    Colepin owned approximately 14.75% of the equity in BioEye as of 02/11/2020 (J.D. Doc. 329).

    Accounting for Colepin's interest in BioEye and rights as a convertible noteholder, the parties

    indicated in the July 23, 2020, submission to the ASX that Barrett and his related companies would

    hold approximately 14.6% of the equity in the post-RTO entity based on a minimum subscription

    public offer (1.D. Doc. 64).



    Request No. 15: Admit that BioEye did not have drug testing, concussion testing or sepsis testing

    capabilities in any products on July 1, 2019.

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             RESPONSE: Denied. BioEye's existing technology was capable of being implemented to

     test for symptoms of drug impairment, concussions, and sepsis. Further, BioEye had previously

     identified impairment and concussion testing as a potential use for BioEye' s existing technology (see,

     e.g., P. Ex. 466(a) at pg. 17).


     Request No. 16: Admit that drug testing capabilities are called Eympair, that concussion testing

     capabilities are called Eympact, and that sepsis testing capabilities are called Overwatch IDT, and all

    are now are the possession ofBioEye.

            OBJECTION: The Defendant objects to Request No. 16 because it is ambiguous what it

    means for BioEye to have capabilities in its possession.

            RESPONSE: The Defendant admits that BioEye has products utilizing its technology that

    can test for symptoms of drug impairment, concussions, and sepsis and that those products are or

    were called Eympair, Empact, and Overwatch IDT at certain times (among other names). The tests

    are standard industry tests utilizing the capabilities of BioEye's core technologies (which are not

    specific to a single product) to address the relevant markets. All implementations of BioEye's

    technology other than an abandoned web portal were created by the BioEye team in Israel and BioEye

    retains the work performed by the BioEye team.


    Request No. 17: Admit that technologies encompassed in Eympair, Eympact and Overwatch IDT

    were developed by the Plaintiff.

           RESPONSE: Denied. To the best of the Defendant's knowledge, the Plaintiff was hired or

    contracted by Overwatch in anticipation of the RTO to assist with the marketing of BioEye's

    technologies in North America and inform BioEye developers with respect to the needs of certain

    markets that could utilize BioEye's technology. The Plaintiff did not develop any technology related

    to Eympair, Empact, or Overwatch IDT.
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     Request No. 18: Admit that Eympair, Eympact and Overwatch IDT significantly increased the value

     ofBioEye.

            OBJECTION: The Defendant objects to Request No. 17 because it is ambiguous as to (a)

     what constitutes a "significant" increase in the value of BioEye and (b) whether the Plaintiff seeks an

     admission that each increased the value of BioEye or whether taken together they increase the value

     of BioEye. To address this ambiguity, the Defendant will interpret the request for admission to be as

    follows: "Admit that Eympair, Eympact and Overwatch IDT. considered to!rether, sig0ifiea:ntly

    increased the value of BioEye."

            RESPONSE: The Defendant admits that BioEye 's development of technology related to

    Eympair, Eympact, and Overwatch IDT, considered together, may ultimately contribute to an

    increase in the value of BioEye. The Defendant lacks knowledge or information sufficient to assess

    the amount of any increase in value or whether any increase in value is attributable to the continued

    development and maturity of the underlying eye-tracking technology rather than the particular

    products.


    Request No. 19: Admit that Plaintiff was not paid for the development of Eympair, Eympact and

    Overwatch IDT.

           RESPONSE: The Defendant admits that the Plaintiff was not paid for development of

    Eympair, Eympact, and Overwatch IDT. BioEye created these products. However, the Defendant

    denies that the Plaintiff was not paid for the marketing services for which Overwatch employed or

    otherwise engaged the Plaintiff. Documentation previously produced as I.D. Doc. No. 5 shows that

    the Plaintiff received payments from Overwatch.


    Request No. 20: Admit that you had discussions with investors after April 2020 to market Eympair,

    Eympact and Overwatch IDT solely through BioEye.
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             RESPONSE: Admitted.


     Request No. 21: Admit that Barrett and Correia benefited personally from the canceled RTO by

     limiting the dilution in their BioEye shares that would have occurred in the RTO.

             OBJECTION: The Defendant objects to Request No. 21 because it is irrelevant to the

     Plaintiff's alleged right to unpaid contractual wages, right to the Patent Application, or right to other

     technology and requires the Defendant to speculate.

            RESPONSE: Denied. For the reasons indicated in the Defendant's response to Request for

     Admission No. 14, Correia would have owned more shares in the post-RTO entity than he owned in

     BioEye so he could not have benefited personally from the cancelling of the RTO because oflimiting

     the dilution of his BioEye shares. The Defendant lacks sufficient information to admit or deny that

     the minimal dilution in equity combined between Barrett and Colepin materially benefited Barrett

     compared to the funds that would have been received through the RTO.

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    Dated October 22, 2021                                PARKINS LEE & RUBIO LLP

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                                                          Counsel to BioEye Ltd.




                                             VERIFICATION

           I, Eran Ferri, a Founder ofBioEye, Ltd. I believe, based on reasonable inquiry, that the

    foregoing responses are true and correct to the best of my knowledge, information, and belief.

           I verify under penalty of perjury that the foregoing is true and correct.


              Oct23,2021
     Signed: _ _ _ _ __ __
                                                   Eran Ferri (Oct 23, 202100:43 GMT+3)
                                                   Eran Ferri
                                                   Founder of BioEye, Ltd.




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